Case 6:19-cv-02168-RBD-LRH Documenti1-1 Filed 11/14/19 Page 1 of 1 PagelD 15
JS 44 (Rev. 09/19) CIVIL COVER SHEET

Fhe JS 44 civil cover sheet and the information contained herein neither replace nor Supplement the filing and service of pleadings or other papers as requited by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (EE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

I. (a) PLAINTIFFS DEFENDANTS
WENDELL H. STONE COMPANY, INC. d/b/a STONE & COMPANY, RESORT CONFIRMATIONS, INC., d/b/a RCI-Promotions, a Florida
individually and on behaif of all others similarly situated, corporation, and DANIEL MARSHALL, an individual,
€b) County of Residence of First Listed Plaintiff Fayette County, PA County of Residence of First Listed Defendant
(EXCEPT IN US, PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

€e} Attomeys (Finn Mame, Address, and Telephone Number} Attomeys (if Known}
Ryan S. Shipp at Law Office of Ryan S. Shipp, PLLC

814 Lantana Road, Suite 1 Lantana, Florida 33462
561-699-0399 ryan@shippiawoffice.com

 

 

Ik. BASIS GF JURISDICTION {Place an "X" in One Box Only} I. CITIZENSHIP OF PRINCIPAL PARTIES (Place aa “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
ft US. Government 4 3 Federal Question PYF DEF PTF DEF
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of Business In This State
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Defendant (indicate Citizenship of Parties in ftem I11) of Business la Another State
Citizen or Subject of a 43 & 2 Foreign Nation 46 46

 

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IV. NATURE OF SUIT (rtace an

         

  
   

   

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1 150 Recavery of Overpayment {7 320 Assault, Libel & Pharmaceutical : PROPER TI Ritsits 40 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 826 Copyrights fF 430 Banks and Banking
OY 151 Medicare Act {4 330 Federal Employezs’ Product Liability © 83 Patent fF 450 Commerce
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153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR : HAE SECURELY, CF 480 Consumer Credit
of Veteran's Benefits EF 350 Motor Vehicle FI 370 Other Fraud © 710 Fair Labor Standards CF 861 HEA (139583 {15 USC 1681 or 1692)
O 160 Stockhelders” Suits M 335 Motor Vehicle ©) 371 Frath in Lending Act C1} 862 Black Lung (923) Mags Telephone Consumer
OG 190 Other Contract Product Liability “) 380 Other Personal ©) 720 Labor/Management CF 263 DIVC/DIWW (465(2) Protection Act
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2} 440 Other Civil Rights | Habeas Corpus: {7791 Employee Retirement [7 870 Taxes (US. Plaintiff? | C7 893 Environmental Matters

      

 

 

 

 

 

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CF 245 Tort Product Liability Accommodations OF $30 General T1899 Administrative Procedure
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specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Bo not cite jurisdictional statutes untess diversity):
47 U.S.C, 227 et. seq.

Brief description of cause: .
Violations of the Junk Fax Prevention Act of 2005

 

VE CAUSE OF ACTION

 

 

 

 

 

Vil. REQUESTED IN GR CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.CyP. JURY DEMAND: Yes No
VII. RELATED CASE)
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IF ANY UDGE DOCKETNUMBER
DAT : SIGNATURE OF ATTORNEY. OF: RECORD
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/si Ryan 8. Shipp

 

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

    
